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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          OAKLAND DIVISION
12

13 UNITED STATES OF AMERICA,                   ) CASE NO. 19-CR-655-4 HSG
                                               )
14      Plaintiff,                             ) PROTECTIVE ORDER
                                               )
15   v.                                        )
                                               )
16 EDUARDO GUZMAN TORRES,                      )
        a/k/a “Miguel” a/k/a “Mikey” a/k/a     )
17      “Michael” a/k/a “Ramon Guzman-         )
        Jimenez” a/k/a “Fortino” a/k/a “Ramon )
18      Jimenez” a/k/a “Fabian Cisneros” a/k/a )
        “Hernan Torres Garcia” a/k/a “Potes” )
19      a/k/a “Alex,”                          )
   JUAN DIEGO GALLEGOS-MOYA,                   )
20 ERNESTO OCHOA,                              )
   ALFREDO TAPIA SANDOVAL,                     )
21      a/k/a “Fredi Tapia-Sandoval” a/k/a     )
        “Fredi,”                               )
22 MARCOS ALVAREZ CORONA,                      )
   ANTONIO RAMIREZ-JIMENEZ,                    )
23 JUAN CARLOS GUZMAN,                         )
        a/k/a “Jose Rosa-Perez,”               )
24 ANGEL RINCON-MENETA,                        )
   MARIO LAST NAME UNKNOWN,                    )
25 ADILENE RAMIREZ,                            )
   ERICA LAGUNAS, and                          )
26 TERESA GUZMAN-RODRIGUEZ,                    )
        a/k/a “Mono” a/k/a “Monos,             )
27                                             )
        Defendants.                            )
28                                             )

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 1          With the agreement of the parties, the Court enters the following Protective Order:

 2          The defendant is charged with controlled-substances offenses. Upon receipt of discovery

 3 requests, the United States will produce to defense counsel documents and other materials pertaining to

 4 the defendants and the charged offenses.

 5          The discovery to be provided includes documents or other materials falling into the following

 6 categories (collectively, “Protected Information”):

 7          1.       Sealed court orders authorizing the interception of wire and electronic communications

 8 over telephones, and associated documents, as set forth in Attachment A, that contain Personal

 9 Identifying Information (“PII”) of the defendants and third parties (including without limitation any

10 person’s date of birth, social security number, residence or business address, telephone numbers, email

11 addresses, driver’s license number, professional license number, family members’ names, or criminal

12 histories), as well as information regarding potential targets of investigation;

13          2.       Other court filings, including warrants for premises, vehicle trackers, and cell phone

14 location data, and associated documents, as set forth in Attachment B, that contain PII of defendants and

15 third parties; and

16          3.       Audio and video recordings involving confidential sources and undercover officers.

17          To ensure that Protected Information is not subject to unauthorized disclosure or misuse,

18          IT IS HEREBY ORDERED that, notwithstanding any sealing order, the government may

19 produce the documents in Attachments A and B relating to this investigation as necessary to comply

20 with its discovery obligations.

21          IT IS FURTHER ORDERED that the documents listed in Attachment A, as well as audio and

22 video recordings involving confidential sources and undercover officers, shall be produced to defense

23 counsel of record, their investigators, assistants, employees, and any experts retained to assist with

24 preparation of the defense in the captioned case, so long as they have reviewed and agreed to be bound

25 by this Order (collectively, “the defense team”). The defense team may review the documents and

26 recordings with the defendant, but shall not provide the defendant with copies of, or permit the

27 defendant to make copies of, or have unsupervised access to these documents and recordings.

28          IT IS FURTHER ORDERED that the documents listed in Attachment B shall be produced to

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 1 the defendant in addition to the defense team. However, these documents shall not be disseminated or

 2 disclosed to anyone other than the defendant and the defense team, except upon the express

 3 authorization of this Court.

 4          All materials containing Protected Information shall be stamped on their face “PROTECTED

 5 INFORMATION – SUBJECT TO PROTECTIVE ORDER.”

 6          The government and defense counsel are ordered to work together to ensure that these materials

 7 are protected, but that each defendant has as much access to the materials as can be provided consistent

 8 with this Court’s order.

 9          The defendants and all members of each defense team who receive discovery under this Order

10 shall be provided a copy of this Order along with those materials and shall initial and date the order

11 reflecting their agreement to be bound by it.

12          The materials provided pursuant to this protective order may only be used for the specific

13 purpose of preparing or presenting a defense in this matter, unless specifically authorized by the Court.

14          This Order shall also apply to any copies made of any materials covered by this Order.

15          IT IS FURTHER ORDERED that neither a defendant nor any member of the defense team

16 shall provide any discovery material containing Protected Information to any third party (i.e., any person

17 who is not a member of the defense team in this case) or make any public disclosure of the same, other

18 than in a court filing, without the government’s express written permission or further order of this Court.

19          If a party files a pleading that contains or attaches Protected Information subject to this Order,

20 the Protected Information must be redacted from the public filing and filed under seal. The defense

21 team shall comply with Criminal Local Rule 56-1 to ensure that Protected Information is not improperly

22 disclosed.

23          IT IS FURTHER ORDERED that defense counsel shall return materials subject to this

24 Protective Order (including any copies) to the United States, or destroy such materials and certify to the

25 United States that they have been destroyed, within 14 days after whichever event occurs last in time:

26 dismissal of all charges against the defendant; defendant’s acquittal; defendant’s sentencing; or the

27 conclusion of any direct appeal. Should the defense team seek to retain copies of any materials subject

28 to this protective order, the defense team may, within the time limits set out in the preceding sentence,

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 1 request that the government provide copies of such materials with all Protected Information

 2 appropriately redacted. Government counsel shall provide such redacted copies within a reasonable

 3 time after the defense team’s request.

 4          The United States shall maintain materials subject to this Protective Order until the period for

 5 filing a motion under 28 U.S.C. § 2255 has expired. After the statutory period for filing a motion under

 6 28 U.S.C. § 2255 has expired, the United States is free to destroy documents and materials subject to

 7 this Order. If defendant is represented by counsel and files a motion pursuant to 28 U.S.C. § 2255, the

 8 United States will provide counsel with the documents and materials subject to this Protective Order

 9 under the terms of this Order. Defendant’s attorney in any motion under 28 U.S.C. § 2255 shall return

10 the documents and materials subject to this Protective Order within 14 days after the district court’s

11 ruling on the motion or 14 days after the conclusion of any direct appeal of the district court’s order

12 denying the motion, whichever is later.

13          This stipulation is without prejudice to either party applying to the Court to modify the terms of

14 any protective order. This Court shall retain jurisdiction to modify this Order upon motion of either

15 party even after the conclusion of district court proceedings in this case.

16     IT IS SO STIPULATED.                                  DAVID L. ANDERSON
                                                             United States Attorney
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18
       Dated: January 16, 2020                               _____/s/_______________________________
19                                                           RYAN REZAEI
20                                                           Assistant United States Attorney

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22                                                           _____/s/________________________________
                                                             ROBERT WAGGENER
23                                                           Counsel for Defendant Alfredo Tapia Sandoval
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25     IT IS SO ORDERED.

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27     Dated: 1/17/2020                                      HAYWOOD S. GILLIAM, JR.
                                                             United States District Judge
28

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 1                                    ATTACHMENT A

 2                      WIRETAP APPLICATIONS, AFFIDAVITS, AND ORDERS

 3           Docket Number            Warrant/Order Date          Description
          19-90702 MISC HSG                8/8/19            TARGET TELEPHONE 1
 4
                                                             TARGET TELEPHONES 2
          19-90865 MISC HSG                9/20/19
 5                                                                  AND 3
          19-90895 MISC HSG                9/30/19           TARGET TELEPHONE 4
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 1                                   ATTACHMENT B

 2                       PEN REGISTER APPLICATIONS AND ORDERS

 3           Docket Number           Warrant/Order Date            Description
             19-90127 MISC                 2/7/19                   1 phone
 4
             19-90250 MISC                3/18/19                   1 phone
 5            19-90384 SK                  5/7/19                   1 phone
           19-90504 MISC LB                6/7/19                   1 phone
 6         19-90505 MISC LB                6/7/19                   1 phone
 7         19-90519 MISC LB               6/12/19                   1 phone
          19-90701 MISC EDL                8/7/19                   1 phone
 8        19-90701 MISC EDL                8/7/19                   1 phone
 9        19-90701 MISC EDL                8/7/19                   1 phone
          19-90701 MISC EDL                8/7/19                   1 phone
10        19-90701 MISC EDL                8/7/19                   1 phone
11        19-90701 MISC EDL                8/7/19                   1 phone
          19-90701 MISC EDL                8/7/19                   1 phone
12        19-90701 MISC EDL                8/7/19                   1 phone
          19-90724 MISC DMR               8/14/19                   1 phone
13
          19-90725 MISC DMR               8/14/19                   1 phone
14        19-90726 MISC DMR               8/14/19                   1 phone
          19-90756 MISC DMR               8/21/19                   1 phone
15
          19-90757 MISC DMR               8/21/19                   1 phone
16        19-90777 MISC DMR               8/26/19                   1 phone
          19-90810 MISC KAW                9/5/19                   1 phone
17        19-90811 MISC KAW                9/5/19                   1 phone
18           3-19-71544 JCS               9/20/19                   1 phone
             3-19-71544 JCS               9/20/19                   1 phone
19       19-CR-90919 MISC JSC             10/4/19                   1 phone
20       19-CR-90920 MISC JSC             10/4/19                   1 phone
        19-CR-90945 MISC DMR             10/11/19                   1 phone
21      19-CR-90990 MISC DMR             10/23/19                   1 phone
        19-CR-90991 MISC DMR             10/23/19                   1 phone
22
        19-CR-90992 MISC DMR             10/23/19                   1 phone
23      19-CR-90993 MISC DMR             10/23/19                   1 phone
        19-CR-91025 MISC DMR              11/6/19                   1 phone
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 1     LOCATION DATA FOR CELLULAR TELEPHONES WARRANT APPLICATIONS/ORDERS

 2          Docket Number            Warrant/Order Date            Description
           4-19-70436 KAW                 3/25/19                   1 phone
 3
            3-19-70701 SK                  5/7/19                   1 phone
 4          3-19-70875 LB                  6/7/19                   1 phone
           3-19-70983 TSH                 6/27/19                   1 phone
 5         3-19-71146 TSH                 7/29/19                   1 phone
 6         3-19-71260 EDL                 8/12/19                   1 phone
           3-19-71261 EDL                 8/12/19                   1 phone
 7         3-19-71262 EDL                 8/12/19                   1 phone
 8         3-19-71263 EDL                 8/12/19                   1 phone
           3-19-71266 EDL                 8/12/19                   1 phone
 9         3-19-71267 EDL                 8/12/19                   1 phone
10         4-19-71299 DMR                 8/15/19                   1 phone
           4-19-71332 DMR                 8/21/19                   1 phone
11         4-19-71333 DMR                 8/21/19                   1 phone
           4-19-71364 DMR                 8/26/19                   1 phone
12
           4-19-71472 KAW                  9/5/19                   1 phone
13         4-19-71473 KAW                  9/5/19                   1 phone
            3-19-71544 JSC                9/20/19                   3 phones
14
            3-19-71545 JSC                9/20/19                   3 phones
15         4-19-71740 DMR                10/24/19                   2 phones
           4-19-71742 DMR                10/24/19                   1 phone
16         4-19-71839 DMR                 11/6/19                   1 phone
17         4-19-71921 KAW                11/19/19                   1 phone

18                  VEHICLE TRACKING WARRANT APPLICATIONS/ORDERS
19          Docket Number            Warrant/Order Date            Description
            3-19-70665 SK                 5/1/19                    1 vehicle
20
           3-19-70984 TSH                 6/27/19                   1 vehicle
21         3-19-71259 EDL                 8/12/19                   1 vehicle
           3-19-71265 EDL                 8/12/19                   1 vehicle
22
           4-19-71424 DMR                 8/30/19                   1 vehicle
23         4-19-71483 KAW                  9/6/19                   1 vehicle
            3-19-71497 JCS                9/11/19                   1 vehicle
24          3-19-71546 JCS                9/20/19                   1 vehicle
25         4-19-71676 DMR                10/11/19                   1 vehicle
           4-19-71737 DMR                10/24/19                   1 vehicle
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 1             PREMISES AND OTHER SEARCH WARRANT APPLICATIONS/ORDERS

 2          Docket Number            Warrant/Order Date            Description
           4-19-71302 DMR                 8/29/19                  1 company
 3
           4-19-71888 KAW                11/18/19                  1 premises
 4         4-19-71889 KAW                11/18/19                  1 premises
           4-19-71890 KAW                11/18/19                  1 premises
 5         4-19-71891 KAW                11/18/19                  1 premises
 6         4-19-71892 KAW                11/18/19                  1 premises
           4-19-71893 KAW                11/18/19                  1 premises
 7         4-19-71894 KAW                11/18/19                  1 premises
 8         4-19-71895 KAW                11/18/19                  1 premises
           4-19-71896 KAW                11/18/19                  1 premises
 9         4-19-71897 KAW                11/18/19                  1 premises
10         4-19-71898 KAW                11/18/19                  1 premises

11                                    POLE CAMERAS

12          Docket Number            Warrant/Order Date            Description
          19-90573 MISC TSH               6/26/19                  2 premises
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